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' intent to distiibute, methamphetamine, a controlled substance under Title Zl, United

 

 

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U.S. Magistrate Judge Paula McCandlis

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT sEATTLE
UNITED sTATEs oF AMERICA, CASE No. MJ18-438
Plamt‘ff’ CoMPLAINT for VIoLATIoN
` V.
Title Zl, U.S.C. Sections 84l(a)(l),1
RICHARD SHARON’ s41(b)(1)(A) and me 18 United states
Defendant. Code Section 2

 

 

BEFORE Paula McCandlis, United States Magistrate Judge, U. S. Courthouse,
Seattle, Washington.
The undersigned complainant being duly sworn states:
COUNT ()NE
(Possession of Methamphetamine with Intent to Distribute)
On or about September 20, 2018, in Seattle, Washington, within the Western
District of Washington, and elsewhere, the Defendant, RICHARD SHARON, did

knowingly and intentionally possess, and did aid and abet the possession of, with the

 

States Code, Section 812.

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lt is further alleged that the offense involved five hundred (500) grams or more of
a mixture or substance containing a detectable amount of methamphetamine l

All in violation of Title 21, United States Code, Sections 84l(a)(l) and
84l(b)(l)(A) and Title 18, United States Code, Section 2.

And the complainant states that this Complaint is based on the following
information:

I, Geoffrey Provenzale, a Special Agent with the Drug Enforcement
Administration, being first duly sworn on oath, depose and say:

I. INTRODUCTION AND AGENT BACKGROUND

l. l am employed as a Special Agent (SA) with the United States Drug
Enforcement Administration (DEA), and have been so employed since April 2015. I am
currently assigned to the Seattle Field Division. In this capacity, I investigate violations
of the Controlled Substance Act, Title 21, United States Code, Section 801 et seq., and
related offenses. l have received specialized training in the enforcement and
investigation of the Controlled Substance Act. l have received over 620 hours of
classroom training including but not limited to, drug identification, drug interdiction,
detection, money laundering techniques and schemes, smuggling, and the investigation of
individuals and/or organizations involved in the illegal possession, possession for Sale,
sales, importation, smuggling, cultivation, manufacturing and illicit trafficking of
controlled substances

2. In my role as a Special Agent for the Drug Enforcernent Administration, I
have negotiated for and purchased narcotics acting in an undercover capacity. l have
participated in narcotics investigations (i.e. heroin, fentanyl, cocaine, marijuana, and
methamphetamine) which have resulted in the arrest of individuals and the seizure of
illicit narcotics and/ or narcotic-related evidence and the forfeiture of narcotics related
assets. l have been involved in the service of search warrants as part of these

investigations As a result of my experience in serving these search Warrants, I have

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encountered and have become familiar with various tools, methods, trends, paraphernalia
and related articles utilized by various traffickers in their efforts to import, conceal, and
distribute controlled substances I am also familiar with the various methods of
packaging, delivering, transferring, and laundering drug proceeds. Additionally, through
my training and experience, l can identify illegal drugs by sight, odor, and texture.

3. I have written affidavits in support of court authorized federal warrants and
orders in the Western District of Washington for TIII interceptions, GPS tracking of
telephones, search warrants, and tracking of vehicles. Additionally, l have testified in
grand jury proceedings, written investigative reports, and conducted and participated in
numerous interviews of drug traffickers, of various roles within drug organizations, which
has provided me with a greater understanding of the methods by which drug trafficking
organizations operate.

4. I have obtained the facts set forth in this affidavit through my personal
participation in the investigation described below; from oral and written reports of other

law enforcement officers; and from records, documents and other evidence obtained

d during this investigation I have obtained and read official reports prepared by law

enforcement officers participating in this investigation and in other investigations by the
DEA. When I refer to registration records for vehicles, I am relying on records obtained
from the Washington State Department of Licensing (DOL). Insofar as l have included
event times in this affidavit, those event times are approximate

5. As set forth below, there is probable cause to believe that Defendant
RICHARD SHARON possessed methamphetamine with the intent to distribute it, in
violation of Title 21 of the United States Code. Since this affidavit is being submitted for
the limited purpose of establishing that probable cause, l have not included every fact
known concerning this investigation I have set forth only the facts that l believe are

essential for a fair determination of probable cause.

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II. SUMMARY OF PROBABLE CAUSE
A. INFORMATION REGARDING INVESTIGATION OF SHARON

6. The DEA and Seattle Police Department (SPD) have been investigating
RICHARD SHARON who distributes narcotics, including crystal methamphetamine, in
the Western D`istrict of Washington. During August 2018, through the use of a
confidential source (CS 1)1, investigators conducted a controlled purchase from SHARON
of a quantity of crystal methamphetamine in excess of 500 grams.

7. Subsequent to the controlled purchase, through a state authorized court
order, investigators'obtained tracking information for a vehicle registered to SI-IARON: a
2002 Infiniti Q45, Washington license plate number ACG2169 (hereinafter target
vehicle); and a phone associated with SHARON: 206-618-2421 (hereinafter target
telephone). Location tracking data of both the target vehicle and target telephone, as well
as information received from “ActivSpace” revealed that SHARON utilized an office
space, located at 10015 Lake City Way NE, Unit #328 , Seattle, Washington (hereinafter
target location), on a regular basis.

B. SEARCH WARRANT EXECUTION

8. Based on the information outlined above, I obtained federal search warrants
from this Court for the target location and target vehicle on September 19, 2018. Those
warrants were executed on September 20, 2018.

9. On September 20, 2018, at approximately 10:00 a.m., investigators
established surveillance at the target location At approximately 10:15 a.m., I observed
the target vehicle and SHARON arrive at the target location On the same date, during
the afternoon, CSl contacted SHARON and agreed to meet with SHARON to purchase

 

l According to NCIC, CSl was convicted before 2011 in the Western District of Washington for Conspiracy to
Distribute a Controlled Substance, Distribution of Cocaine, Possession with Intent to Distribute Cocaine and
Possession with lntent to Distribute Methamphetamine. CSl was arrested in 2018 for distribution of controlled
substances and is cooperating with law enforcement for sentencing consideration

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approximately 3 kilograms of crystal methamphetamine from SHARON. CSl and
SHARON agreed to meet at a grocery store parking lot in Seattle, Washington.

10. At approximately 5: 15 p.m., an investigator observed SHARON exit the
target location and enter into the target vehicle Tracking data indicated the target vehicle
travelled directly to the grocery store parking lot. At approximately 5:28 p.m., I
observed the target vehicle arrive in the grocery store parking lot and park. At a neutral
location, CSl and his/her vehicle were searched prior to the meeting with SHARON.
Both CSl and the vehicle had no unauthorized items or contraband. CSl was then given
$21,000 in official funds and a recording device by investigators Investigators then
followed CSl directly to the grocery store parking lot.

11. At approximately 5 :45 p.m., l observed CSl arrive in the grocery store
parking lot and enter into the passenger’s side of the target vehicle empty handed.
Shortly thereafter, CSl exited the target vehicle carrying a large shoe box. SPD Officers
then arrested SHARON inside the target vehicle 1 seized the shoebox from CSl and
observed two large packages inside of it containing what appeared to be, based upon my
training and experience multiple pounds of crystal methamphetamine CSl stated it was
approximately three kilograms and he/ she had received it in the vehicle from SHARGN
in exchange for the official funds. The material in the shoe box weighed 3,039.1 grams,
and field tested positive for methamphetamine

12. SHARON was placed under arrest and read his Mz`randa Rights. SHARON
stated he understood his rights. SHARON was informed that investigators had a search
warrant for the target vehicle and the target vehicle was then searched by law
enforcement Investigators seized the $21,000 in official funds from the inside of the
target vehicle

13. SHARON stated to investigators that he had just “sold” to CSl the last of .
the methamphetamine he had on hand. SHARON stated that within the target location
investigators would find about a “pound of duff” and a small quantity of

methamphetamine within his desk. SHARON described “duff” as the powder/shards of

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methamphetamine that had been left over from larger quantities. He stated it normally
accumulated in the bottom of bags containing large quantities of methamphetamine

14. At approximately 7: 12 p.m., investigators executed the search warrant at
the target location Upon a search of the target location, investigators located quantities
of methamphetamine consistent with SHARON’s statements The “duff” material
weighed 203.3 grams and field tested positive for methamphetamine In addition,
investigators located drug ledgers, multiple gallon size Ziploc bags, and a large bucket of
“cutting” material, I know from my training an experience is used by drug traffickers to
add to controlled substances to increase their volume for sale SHARON later stated the
cutting material was used to “cut” methamphetamine Based on my training and
experience these items are consistent with distribution of narcotics.

III. CONCLUSION

15. Based on the above facts, 1 respectfully submit that there is probable cause
to believe that Defendant RICHARD SHARON did knowingly and intentionally possess
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methamphetamine with the intent to distribute it, in violation of Title 21, United States
Code, Sections 841(a)(1), 841(b)(1)(A) and Title 18 United States Code Section 2.

W/%

GEoFi:REY PRovENzALE,
Complainant
Special Agent, DEA

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant

committed the offense set forth in the Complaint.

Dated this Q/i l f day of September, 2018.

    

THE HON. PAULA McCANDLIS
United States Magistrate Judge

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